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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                            LEWIS T. BABCOCK, CHIEF JUDGE


  Civil Case No. 03-cv-00972-LTB-MJW

  JAMI J. JENSEN,

               Plaintiff,

  v.

  UNITED STATES OF AMERICA,

             Defendant.
  ________________________________________________________________________

                              MINUTE ORDER
  ______________________________________________________________________
  BY ORDER OF CHIEF JUDGE LEWIS T. BABCOCK


        Plaintiff’
                 s Unopposed Motion to Reopen Case for Entry of Judgment (Doc 86 - filed
  February 10, 2006) is GRANTED.




  Dated: February 15, 2006
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